Case 2:12-md-02311-SFC-RSW ECF No. 2060-10 filed 06/18/20   PageID.37913   Page 1
                                    of 4




                          Exhibit H
       Case 2:12-md-02311-SFC-RSW ECF No. 2060-10 filed 06/18/20                                                         PageID.37914               Page 2
                                           of 4

Jeffrey N. Leibell

From:                       Jeffrey N. Leibell
Sent:                       Tuesday, March 10, 2020 7:59 AM
To:                         Chanler Langham
Cc:                         Marc Seltzer; Salzman, Hollis; Adam Zapala; Robin Niemiec
Subject:                    Auto Parts Indirect - EPP Actions
Attachments:                FRS Letter to GCG (2020-03-09).pdf


Chanler,
The attached letter was sent yesterday afternoon to info@autopartsclass.com with a copy to Brian Pinkerton.
If you have any questions, please let me know.
Jeff

Jeffrey N. Leibell
Chief Legal & Financial Officer
201.853.1246 | jleibell@frsco.com | LinkedIn


                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
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Financial Recovery Strategies (FRS) is a third‐party class action settlement claims recovery consulting firm; we are not class counsel or a claims administrator. Class
members may always file claims on their own without retaining FRS, and may contact class counsel and the claims administrator for information about a settlement
and for claims filing assistance. FRS, if retained, works on an agreed‐upon contingent commission basis.




                                                                                  1
Case 2:12-md-02311-SFC-RSW ECF No. 2060-10 filed 06/18/20                                          PageID.37915           Page 3
                                    of 4




                                                                                                            Jeffrey N. Leibell
                                                                                             Chief Legal & Financial Officer
                                                                                                             (201) 853‐1246
                                                                                                         jleibell@frsco.com

  March 9, 2020
  BY ELECTRONIC MAIL
  GCG
  Settlement Administrator
  Auto Parts Settlements
  P.O. Box 10163
  Dublin, OH 43017‐3163
  info@AutoPartsClass.com

                        In re Automotive Parts Antitrust Litigation, End‐Payor Actions
                                  Master File No. 12‐md‐02311 (E.D. Mich.)

  Dear Settlement Administrator:
             As you know, Financial Recovery Services, LLC d/b/a Financial Recovery Strategies (“FRS”)
  has been retained by certain members of the Settlement Classes (“EP Class Members”) to
  manage their proofs of claim to recover from the End‐Payor settlements (the “EP Settlements”).
  We are providing this letter to supplement the proofs of claim that FRS has submitted on behalf
  of FRS’s auto insurer clients (“Auto Insurers”).1
             Specifically, FRS, after reaching an impasse with Settlement Class Counsel, submitted to
  the Court a letter dated December 13, 2019 (the “FRS Letter”) in which FRS requested the
  following relief:
             [Entry of] an order declaring that, under the longstanding and universally‐
             recognized equitable subrogation doctrine, [Auto Insurers] that, to or on behalf of
             EP Class Members (“Total Loss Insureds”), made indemnity payments for “Eligible
             Vehicles” that were deemed a total loss (“Total Loss Vehicles”), are subrogees, and

  1
      Those Auto Insurers are as follows:
                                            Auto Insurer                  Claim Number
                                  AIG                                      47423AB8CA
                                  Liberty Mutual                            10063971
                                  MAPFRE Insurance                         0E97739368
                                  Mercury Insurance Services                10050383
                                  Utica National Insurance Group           43E0EE54BB
                                  W.R. Berkley                             857B0260BB




      www.FRSco.com        80 Wesley Street, South Hackensack, NJ 07606    Phone: (201) 853-0300             Fax: (201) 853-0301
Case 2:12-md-02311-SFC-RSW ECF No. 2060-10 filed 06/18/20                        PageID.37916        Page 4
                                    of 4




  GCG
  Settlement Administrator
  March 9, 2020
  Page 2
             thus stand in the shoes, of Total Loss Insureds, and, therefore, may recover from
             the EP Settlements to the extent of their indemnity payments.2
  Settlement Class Counsel responded to the FRS Letter on January 16, 2020; 3 by letter dated
  January 30, 2020, FRS submitted in further support of its position its reply letter.4
             The Court has not yet ruled on FRS’s request. With the March 16, 2020 claim deadline
  rapidly approaching, and because identifying, collecting and marshaling the Total Loss Vehicle
  data necessary to update each Auto Insurer’s proof of claim will be a considerable undertaking,
  FRS, on behalf of Auto Insurers, is notifying GCG that, should the Court grant FRS’s application,
  FRS, within a reasonable time thereafter considering the nature of the undertaking and attendant
  circumstances, will supplement the timely‐filed proof of claim for each Auto Insurer. This letter
  thus supplements each Auto Insurer’s proof of claim and, accordingly, should be included in each
  of their claim files.
             If GCG has any objection to the foregoing, please advise FRS immediately so that we may
  advise the Court as soon as possible.
  Very truly yours,


  Jeffrey N. Leibell
  Copy (via email) to:      Chanler A. Langham, Esq.
                            Marc M. Selzer, Esq.
                            Hollis Salzman, Esq.
                            Adam J. Zapala, Esq.




  2
   FRS Letter at 1 (footnotes omitted). A copy of the FRS Letter is attached hereto as Exhibit 1. All terms
  with initial capitalization not specifically defined in this letter are defined in the FRS Letter.
  3
      Dkt. 2034.
  4
      A copy of FRS’s reply letter is attached hereto as Exhibit 2.
